      Case 1:18-cv-03254-LMM-RGV Document 13 Filed 09/17/18 Page 1 of 3



                       UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA (Atlanta)

NANCY SNYDER                              :
                                          :
                     Plaintiff,           :         NO. 1:18-cv-03254
                                          :
              v.                          :
                                          :
DELTA AIRLINES, INC.                      :      JURY TRIAL DEMANDED
                                          :
                     Defendant.           :

                                          ORDER

       AND NOW this __________________ day of _____________, 2018, upon consideration

of Plaintiff’s Unopposed Consent Motion to Enlarge Time to Respond to Defendant’s Motion to

Dismiss, it is hereby ORDERED and DECREED that Plaintiff’s Motion is GRANTED, and

Plaintiff may respond/amend over to Defendant’s motion by October 2, 2018.

       AND IT IS SO ORDERED.


                                                 ________________________________
                                                                               J.
      Case 1:18-cv-03254-LMM-RGV Document 13 Filed 09/17/18 Page 2 of 3



                        UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA (Atlanta)

NANCY SNYDER                                 :
                                             :
                      Plaintiff,             :          NO. 1:18-cv-03254
                                             :
              v.                             :
                                             :
DELTA AIRLINES, INC.                         :      JURY TRIAL DEMANDED
                                             :
                      Defendant.             :

    PLAINTIFF’S UNOPPOSED CONSENT MOTION TO ENLARGE PLAINTIFF’S
        RESPONSE DEADLINE TO DEFENDANT’S MOTION TO DISMISS

       Pending before this Honorable Court in the above-captioned matter is Defendant’s

Motion to Dismiss. (Docket No. 12).

       Plaintiff respectfully request this Honorable Court grant the within consent motion to

enlarge Plaintiff’s response deadline to Defendant’s Motion to Dismiss.

       In light of the complexity of Defendant’s motion, Plaintiff respectfully requests

enlargement of time to respond consistent with FRCP 6(b)(1)(A) and LR 7.1(B).

       Defendant concurs.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court grant Plaintiff’s

consent motion consistent with the attached proposed order.


                                                    WEISBERG LAW


                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    Attorney for Plaintiff
      Case 1:18-cv-03254-LMM-RGV Document 13 Filed 09/17/18 Page 3 of 3



                        UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA (Atlanta)

NANCY SNYDER                                :
                                            :
                     Plaintiff,             :         NO. 1:18-cv-03254
                                            :
               v.                           :
                                            :
DELTA AIRLINES, INC.                        :      JURY TRIAL DEMANDED
                                            :
                     Defendant.             :

                                  CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 17th day of September, 2018,

a true and correct copy of the foregoing Plaintiff’s Unopposed Consent Motion to Enlarge

Plaintiff’s Response Deadline to Defendant’s Motion to Dismiss was served via ECF, upon the

following parties:


                                   Thomas J. Munger, Esquire
                                        Munger & Stone
                                    999 Peachtree Street, NE
                                          Suite 2850
                                      Atlanta, GA 30309



                                                   WEISBERG LAW


                                                   /s/ Matthew B. Weisberg
                                                   Matthew B. Weisberg, Esquire
                                                   Attorney for Plaintiff
